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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


FAITH BELAC COPE, Administrator of the              :
Estate of LORETTA A. BELAC                          :
                                                    :      CIVIL ACTION
               v.                                   :
                                                    :      NO. 19-728
A.I.I. ACQUISITIONS LLC, ET AL.                     :

                                            O R D E R1

       AND NOW, this 25th          day of     October     , 2019, upon consideration of the

Motion to Remand to State Court (ECF No. 30), and the representations from Defendants

originally opposing the Motion that they withdraw their opposition and no longer object to the

Court remanding this matter to state court (ECF Nos. 87, 92), it is ORDERED as follows:

            1. The Motion is GRANTED.

            2. The case is REMANDED to the Court of Common Pleas of Dauphin County.

            3. The Clerk of the Court is directed to mark this case CLOSED.

       IT IS SO ORDERED.

                                                    BY THE COURT:




                                                    _________________________
                                                    R. BARCLAY SURRICK, J.




       1
        The undersigned is a Senior U.S. District Court Judge for the Eastern District of
Pennsylvania, sitting by designation pursuant to 18 U.S.C. § 292(b).
